Case 2:03-cr-20485-SH|\/| Document 294 Filed 06/16/05 Page 1 of 2 Page|D 336

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

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VS. NO. 03~20485-Ma

REMECO PENNINGTON ,

Defendant.

 

ORDER RESETTING SENTENCING DATE

 

Before the court is the government's June 15, 2005, motion
to reset the sentencing of Remeco Pennington, which is presently
set for July 6, 2005. For good cause shown, the motion is
granted. The sentencing of defendant Remeco Pennington is reset
to Tuesday, July 19, 2005, at 9:00 a.m.

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lt is so ORDERED this l day of June, 2005.

JA(///wt.,.»

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 294 in
case 2:03-CR-20485 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

